  Case 17-30935           Doc 47      Filed 08/31/18 Entered 08/31/18 17:14:21                Desc Main
                                        Document     Page 1 of 4

                                UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                                Case No. 17-30935-EDK
                                                                      Chapter 7
Cynthia A. Sample,

Debtor.


    OBJECTION TO TRUSTEE’S MOTION FOR SALE OF PROPERTY (DOCKET NO. 39)


          Now comes Navy Federal Credit Union and hereby files its objection to the Trustee’s Motion for
Sale of Property. In support of its objection, Navy Federal Credit Union states as follows:
    1. Navy Federal Credit Union is the holder of a first mortgage on the property located at 384
          Housatonic Street, Lenox, MA 01240 (the “Property”). As of September 27, 2018, the approximate
          payoff of said mortgage is anticipated to be $180,414.89.


    2. On August 15, 2018, the Trustee filed the Motion for Sale of Property. Docket Entry 39. The Motion
          to Sell states that the Property is to be sold for $174,000.00. The motion further states that the
          Property “…is subject to a first mortgage lien (the “Senior Mortgage”) currently held or serviced by
          Navy Federal Credit Union (the “Secured Creditor”), which is owed approximately $170,000.”
          Docket Entry 39, at ¶4.


    3. Navy Federal Credit Union objects to the Motion to Sell because its loan will not be paid in full
          according to the Trustee’s Motion for Sale of Property and any sale amount less than the total debt
          should be subject to approval.


    4. Upon request, a payoff good through the closing date will be provided.


          WHEREFORE, Navy Federal Credit Union requests that the Trustee’s Motion for Sale of Property
be denied.




                                                     Respectfully submitted,
 Case 17-30935      Doc 47   Filed 08/31/18 Entered 08/31/18 17:14:21   Desc Main
                               Document     Page 2 of 4

                                        Navy Federal Credit Union,
                                        By its Attorney

                                        /s/Joshua Ryan-Polczinski
                                        Joshua Ryan-Polczinski
                                        BBO# 678007
                                        Harmon Law Offices, P.C.
                                        PO Box 610389
                                        Newton Highlands, MA 02461
                                        (617)558-0500
                                        mabk@harmonlaw.com
Dated: August 31, 2018




                                         2
  Case 17-30935       Doc 47      Filed 08/31/18 Entered 08/31/18 17:14:21             Desc Main
                                    Document     Page 3 of 4



                            UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                       Case No. 17-30935-EDK
                                                             Chapter 7
Cynthia A. Sample,

Debtor.


                                   CERTIFICATE OF SERVICE

        I, Joshua Ryan-Polczinski, state that on August 31, 2018, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of District of Massachusetts on
behalf of Navy Federal Credit Union using the CM/ECF System. I served the foregoing document
on the following CM/ECF participants:

Jack Houghton, Jr.

Steven Weiss

Richard T. King


I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed
with the Court on the following non CM/ECF participants:

Jack Houghton, Jr.
Law Offices of Jack E. Houghton, Jr.
384 Housatonic St.
Lenox, MA 01240

Cynthia A. Sample
a/k/a Cindy Sample
13 Church St Apt A102
Lenox, MA 01240-2553

William V. Sample
384 Housatonic St.
Lenox, MA 01240

William V. Sample
13 Church St Apt A102
Lenox, MA 01240-2553




                                                  3
 Case 17-30935      Doc 47   Filed 08/31/18 Entered 08/31/18 17:14:21   Desc Main
                               Document     Page 4 of 4
BK Global Real Estate Services
1095 Broken Sound Parkway, N.W.
Suite 100
Boca Raton, FL 33487



                                        Respectfully submitted,

                                        Navy Federal Credit Union,
                                        By its Attorney

                                        /s/Joshua Ryan-Polczinski
                                        Joshua Ryan-Polczinski
                                        BBO# 678007
                                        Harmon Law Offices, P.C.
                                        PO Box 610389
                                        Newton Highlands, MA 02461
                                        (617)558-0500
                                        mabk@harmonlaw.com
Dated: August 31, 2018




                                          4
